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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA




 UNITED STATES OF AMERICA

 v.                                          Crim. Action No. 21-508(BAH)

 LANDON MITCHELL,

                      Defendant.




      MR. MITCHELL’S MOTION TO MODIFY CONDITIONS OF RELEASE

        Undersigned counsel respectfully moves this Court to enter an Order

modifying conditions of pre-trial release so that Mr. Mitchell can go this his

grandmother’s home for one day to assist her with home maintenance and yard work.

Mr. Mitchell is currently on home incarceration at his brother’s residence until his

self-surrender date in early November. Mr. Mitchell is courtesy supervised in Texas

and on electronic monitoring.

        Mr. Mitchell’s grandmother needs assistance filling in a large ditch in her yard

that was created to repair sewage and electrical piping and wiring for her home. Mr.

Mitchell’s grandmother lives near his brother’s residence where Mr. Mitchell

currently resides. Mr. Mitchell will coordinate with his pretrial officer regarding the

date and time he goes to assist his grandmother. He anticipates the work will take

between six and seven hours. He will only go to his grandmother’s home and return

directly to his brother’s residence.
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   In support of this motion, counsel states:

1. Mr. Mitchell accepted responsibility to, inter alia, obstruction of justice and

   this Court sentenced Mr. Mitchell on April 20, 2023.

2. Prior to sentencing, Mr. Mitchell was on home incarceration for three months

   at his brother’s residence.

3. The Court permitted Mr. Mitchell to self-surrender.

4. Mr. Mitchell went to Virginia immediately after his sentencing in this case to

   resolve a pending matter there. The Virginia court sentenced Mr. Mitchell to 8

   months incarceration and took him into custody.

5. Mr. Mitchell completed that sentence in late September 2023. Mr. Mitchell

   immediately contacted counsel and the Probation Office to determine next

   steps for his self-surrender in this case.

6. Mr. Mitchell returned home to Texas and continued to reside with his brother.

   Mr. Mitchell immediately reached out to his pretrial officer in Texas and the

   pretrial officer reinstalled a GPS device.

7. Mr. Mitchell received his letter regarding his BOP self-surrender date and will

   self-surrender as required in early November.

8. Counsel for Mr. Mitchell reached out to government counsel, but did not

   receive a response prior to filing this motion. Counsel did not want to delay in

   filing this request.




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Wherefore, for the foregoing reasons, Mr. Mitchell moves this Court to enter the

attached Order permitting him to go to his grandmother’s home to assist her with

repairs and yard work.




                                           Respectfully Submitted,

                                           A.J. KRAMER
                                           FEDERAL PUBLIC DFENDER

                                           /s/ Diane Shrewsbury
                                           Elizabeth Mullin
                                           Diane Shrewsbury
                                           Assistant Federal Public Defenders
                                           Office of the Federal Public Defender
                                            for the District of Columbia
                                           625 Indiana Avenue, N.W.
                                           Washington, D.C. 20004




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